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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      CRIMINAL NO. 21-cr-399 (RDM)
                                               :
ROMAN STERLINGOV,                              :
                                               :
                       Defendant.              :

           GOVERNMENT’S RESPONSE TO DEFENSE MOTION
 FOR EXTENSION OF THE DEFENSE SENTENCING MEMORANDUM DEADLINE

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully opposes the defendant’s Motion To Extend Time To File Defendant’s

Sentencing Submission by One Week, ECF No. 315:

       1.      The defense has had ample opportunity to prepare its sentencing memorandum. It

has been on notice of the original sentencing date (July 15, 2024) since the date of the verdict

(March 12, 2024), and it has been on notice of the revised sentencing date (August 21, 2024) and

associated deadlines since the Court’s scheduling order on June 28, 2024. The defense offers no

good cause why it could not have prepared for the defendant’s sentencing submission earlier, or

for its inability to do so by the existing August 8, 2024 deadline.

       2.      As noted in the defense motion, the government’s sentencing memorandum, ECF

No. 314, contains no information that is new to the defense.

       3.      The sole justification offered by the defense for the requested extension is the

difficulty of mailing materials and scheduling telephone calls with the defendant while he is in jail.

See ECF No. 315, at 1. The government is surprised that the defense team has made no plans to

meet in-person with Mr. Sterlingov to prepare his sentencing submission. Since the verdict,

members of the defense team have traveled around the world for speaking engagements related to
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this case, most recently appearing at the Bitcoin 2024 conference in Nashville, Tennessee, in late

July 2024.     On August 3, 2024—two days after the government filed its sentencing

memorandum—Mr. Ekeland tweeted the following:




       4.      The government is concerned about further delay of the sentencing hearing. The

Court should have adequate time to review both parties’ sentencing submissions. Depending on

the substance of the defendant’s filing, the government may seek leave to file a reply. And even

without any reply, the government in fairness should be allowed more than three business days to

review the defense filing and prepare a response before the August 21, 2024 sentencing hearing.

       For the foregoing reasons, the government respectfully opposes the defense motion.




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                            Respectfully submitted,
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